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   1                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
   2                               EASTERN DIVISION
   3
        NATHSON E. FIELDS,                             )     No. 2010 C 1168
   4
                              Plaintiff,               )     February 18, 2014
   5
                   v.                                  )     10:00 a.m.
   6
        CITY OF CHICAGO, et al.,                       )
   7
                              Defendants.              )
   8
   9                      TRANSCRIPT OF PROCEEDINGS - MOTION
                          BEFORE THE HON. MATTHEW F. KENNELLY
  10
  11    APPEARANCES:
  12    On behalf of Plaintiff:          MR. LEONARD C. GOODMAN
                                         MS. MELISSA A. MATUZAK
  13                                     53 West Jackson Boulevard, Suite 1650
                                         Chicago, Illinois 60604
  14                                     (312) 986-1984
  15                                      MS. H. CANDACE GORMAN
                                          Law Office of H. Candace Gorman
  16                                      220 South Halsted Street, Suite 200
                                          Chicago, Illinois 60661
  17                                      (312) 441-0919
  18    On behalf of Defendants:          MR. DANIEL M. NOLAND
                                          MR. PAUL A. MICHALIK
  19                                      DYKEMA GOSSETT PLLC
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  20                                      Chicago, Illinois 60606
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  21
  22
  23                            MICHAEL P. SNYDER, FCRR
                                Official Court Reporter
  24                          United States District Court
                         219 South Dearborn Street, Room 2244A
  25                            Chicago, Illinois 60604
                                    (312) 435-5563

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              1               THE CLERK: 10 C 1168, Fields versus City of Chicago.
              2               MS. GORMAN: Good morning, Your Honor. Candace Gorman
              3    for Mr. Fields.
              4               MR. GOODMAN: Leonard Goodman for Mr. Fields.
10:06:58      5               MS. MATUZAK: Melissa Matuzak for Mr. Fields.
              6               MR. MICHALIK: Paul Michalik for the City of Chicago
              7    defendants.
              8               MR. NOLAND: Dan Noland for the City defendants.
              9               THE COURT: Okay. I'm looking at the motion for
10:07:21     10    reconsideration or clarification, and I just have to confess I
             11    don't understand it. I just don't get it. I mean, to the
             12    extent that you're basically saying I was wrong, well, tough, I
             13    was wrong. That's what courts of appeals are for.
             14               And, by the way, you didn't cite any cases. I found
10:07:40     15    Singleton. Nobody cited anything. You filed, you made this
             16    argument; you didn't cite a single case, okay? And you really
             17    don't cite anything now other than, you know, two old cases
             18    which, quite honestly, I'm not sure they are on point because
             19    one talks about the unenforceability of an agreement to
10:08:03     20    compensate a witness, which is not the relief you're asking
             21    for, and the other one, the circumstances are I think quite
             22    different.
             23               So putting that aside, it's not clear to me what else
             24    you're even asking me for. So can you give it to me in a
10:08:21     25    nutshell?


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              1               MR. GOODMAN: Yes, Judge. I agree there's not a lot
              2    of case law out there, and I don't believe this is a very
              3    common situation. You know, we have a situation where in 2012
              4    and 2013 the State offered deals --
10:08:38      5               THE COURT: Right.
              6               MR. GOODMAN: -- that reduced prison sentences in
              7    exchange for testimony implicating Mr. Fields in criminal
              8    activity.
              9               THE COURT: Right. But that wasn't the City.
10:08:45     10               MR. GOODMAN: I understand that. That was a long --
             11               THE COURT: What are you asking me to do against the
             12    City defendants?
             13               MR. GOODMAN: Well, I think our concern is, Judge,
             14    that if the City is going to call those witnesses, those
10:08:57     15    particular witnesses --
             16               THE COURT: Yes, which presumably you are, right?
             17    You're going with these people?
             18               MR. GOODMAN: -- and ask them to repeat that
             19    testimony, I think there needs to be some assurance that they
10:09:05     20    are not going to take advantage, what we believe --
             21               THE COURT: What does that mean, take advantage?
             22    That's the part I don't get. In other words, you're contending
             23    that these people were given deals by the State, and they gave
             24    testimony in the certificate of innocence hearing. There's
10:09:21     25    every reason to believe they are going to give the same


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              1    testimony when they come in here to testify, but it's, the
              2    case, at least in its form at the moment, unless something
              3    happens on the 27th floor, you know, soon enough, is the City.
              4    So the City didn't offer them anything, aren't claimed to have
10:09:39      5    offered them anything, aren't claimed that they are going to
              6    offer them anything, and it's basically that they are going to
              7    call them, and presumably they are going to say the same thing.
              8               So what exactly are you asking me to tell the City to
              9    do or not to do? When I say "the City," I mean the City and
10:09:54     10    the police officer defendants.
             11               MR. GOODMAN: I think two things, Your Honor.
             12               First of all, obviously if you --
             13               THE COURT: Just answer the question. What are you
             14    asking me to tell them to do or not do?
10:10:01     15               MR. GOODMAN: One is I think it should be made clear,
             16    that the City needs to make clear to these witnesses that their
             17    testimony in this case has nothing to do with the deal that was
             18    offered by the State, which we believe was an illegal deal.
             19               Secondly, I think that the Court should conduct some
10:10:18     20    inquiry of these witnesses in the --
             21               THE COURT: To find out what?
             22               MR. GOODMAN: To find out, to find out whether these
             23    witnesses understand that their testimony and their cooperation
             24    with the City has nothing to do with the deal that was offered
10:10:33     25    by the State, which, again, we believe was illegal, that they


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              1    are not obligated to repeat the testimony that was in effect
              2    purchased.
              3               THE COURT: So you're asking me to do something other
              4    than to swear a witness in to tell the truth. You're asking me
10:10:48      5    to give them some instructions.
              6               MR. GOODMAN: To inquire. No, to inquire as to
              7    whether the, whether the witness understands that the deal that
              8    was offered by the State --
              9               THE COURT: Do you swear or affirm that the testimony
10:11:00     10    you're about to give will be the truth, the whole truth, and
             11    nothing but the truth?
             12               I mean, I don't see why I would do anything other than
             13    that. I just don't get it. It doesn't compute, is what I'm
             14    saying, because I'm telling them, I am asking them to swear to
10:11:13     15    tell the truth or affirm to tell the truth. And, you know, we
             16    all know that there are witnesses who don't tell the truth,
             17    okay? It happens. But I, I mean, judges don't typically
             18    say -- and I really mean this -- after they do that, or they
             19    don't say, "Well, you know, it doesn't mean you have to say
10:11:33     20    exactly what you said before. Do you swear to tell the truth,
             21    the whole truth, and nothing but the truth, and do you
             22    understand that you really don't have to say the same thing you
             23    said before?"
             24               That's not the way it works. I'm not going to do it.
10:11:42     25    It's obvious. Frankly, it is borderline ridiculous. It's


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              1    borderline ridiculous. You can cross-examine to your heart's
              2    content about that. It's a perfectly appropriate subject of
              3    cross-examination that, isn't it a fact, Mr. So and So, that
              4    you're giving the exact same testimony that you gave in Mr.
10:12:00      5    Fields' innocence hearing in front of Judge Beeble, whoever it
              6    was, on November the whatever of 2013, and isn't it a fact that
              7    before you gave that testimony, that the State's Attorney's
              8    office said that you get three years off of your sentence or
              9    four years off your sentence or whatever. You can
10:12:13     10    cross-examine people to your heart's content about that, and
             11    that is the remedy that you have for this conduct.
             12               I can't -- I don't see any authority, and you still
             13    haven't cited me any for me to do anything else other than
             14    that. The motion for reconsideration or clarification is
10:12:27     15    denied.
             16               We are moving on to the next thing.
             17               MS. GORMAN: Your Honor, can I just raise one issue
             18    with that? I'll make it very brief.
             19               THE COURT: Okay.
10:12:34     20               MS. GORMAN: Depositions were also taken of these men,
             21    taken by the City and the State and myself.
             22               THE COURT: Okay.
             23               MS. GORMAN: And --
             24               THE COURT: So you think they are not going to appear
10:12:45     25    live, in other words?


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              1               MS. GORMAN: I don't know if some of them will or not.
              2               THE COURT: Do we know? Who are we talking about?
              3    Give me some names. Hawkins?
              4               MR. GOODMAN: Hawkins and Keys were the two that were
10:12:55      5    offered reduced prison sentences.
              6               THE COURT: Are they live?
              7               MR. MICHALIK: Hawkins and Keys are coming live.
              8               THE COURT: What about Davis? Don't know?
              9               MR. NOLAND: Don't know. Davis is not incarcerated.
10:13:05     10    He's out of state. So it's likely -- there is, it's a video
             11    deposition Mr. Davis. It's likely that will be played.
             12               THE COURT: Now that I understand the background, go
             13    ahead.
             14               MS. GORMAN: Well, because that testimony was taken --
10:13:18     15               THE COURT: You didn't know that at the time?
             16               MS. GORMAN: Yes, and we questioned them about it.
             17               THE COURT: Okay.
             18               MS. GORMAN: But we don't think it should be able to
             19    be used in this proceeding.
10:13:25     20               THE COURT: Just the fortuity that they had the
             21    deposition taken for two purposes at once?
             22               MS. GORMAN: Well, the City went in and asked if they
             23    could join in even though discovery was closed in this case.
             24               THE COURT: Did they ask me?
10:13:36     25               MS. GORMAN: Yes.


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              1               THE COURT: And what did I say?
              2               MS. GORMAN: Yes.
              3               THE COURT: Okay. So you're saying I should undo
              4    that?
10:13:41      5               MS. GORMAN: No, I'm saying they shouldn't get the
              6    benefit of the State's deal.
              7               THE COURT: I don't think that changes the analysis in
              8    any way, shape, or form, okay?
              9               We are moving on to the next point now.
10:13:50     10               So, let's see. I've got the motion for a jury
             11    inspection to discuss the contents of -- I guess everybody has
             12    come up with their own name for this thing -- the file and to
             13    bring it to the courtroom.
             14               So I looked at the response. What else would you like
10:14:12     15    me to tell me on the side? You've seen the response?
             16               MS. GORMAN: I have, Your Honor. Your Honor, I would
             17    just say in regards to the one file where they presented the
             18    testimony, I think that proves our case even stronger.
             19               THE COURT: This is the, what's her name?
10:14:24     20               MS. GORMAN: Charmagne Nathan.
             21               I think that they proved our case even stronger
             22    because the file that was in the file cabinet was more than 140
             23    pages long. It had an extensive investigation not only of the
             24    one witness but of the facts regarding that shooting, and it's
10:14:43     25    clear from the testimony that they presented that the most the


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              1    defense counsel had in the El Rukn trials was one page.
              2    Similar to Mr. Fields, who had eight pages of the investigative
              3    file tendered to him, it looks to me like they had one page
              4    from the day she was first able to talk in the hospital and
10:15:02      5    none of the rest of that investigation.
              6               THE COURT: Put that part of it on the side for a
              7    second. Let's talk about the other two parts, the part about
              8    wanting to take the jury down to 51st and Wentworth and the
              9    other being bring the thing here.
10:15:18     10               MS. GORMAN: Your Honor, can we --
             11               THE COURT: Given what I was told about how this file
             12    cabinet just happens to be in the basement, I think it was
             13    moved there at some point even during the litigation, if I'm
             14    recalling correctly. I am not sure what's to be gained by
10:15:31     15    taking the jury to look at the basement, because the location
             16    in the basement is something that happened post litigation. It
             17    doesn't seem to me that it really enlightens, illuminates
             18    anything. What am I missing?
             19               MS. GORMAN: Well, we don't know where the file was
10:15:43     20    all these years.
             21               THE COURT: I know that.
             22               MS. GORMAN: We do know that there's a basement down
             23    there that has all these file cabinets and that there are also
             24    open files, which we think goes to the whole issue of how many
10:15:52     25    open files down there are really like Mr. Fields' files. We


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               1    only got to look at the one file cabinet, but --
               2               THE COURT: Why aren't -- you took pictures, right?
               3               MS. GORMAN: Correct.
               4               THE COURT: Why aren't the pictures good enough?
10:16:04       5               MS. GORMAN: They will be if the Court isn't going to
               6    let --
               7               THE COURT: This doesn't strike me as a situation
               8    where there's something unique about the location. I mean, you
               9    know, I've had -- I tried a case with the City once where there
10:16:16     10     was something that supposedly happened in the back of a big
             11     police wagon, and there was a question about whether somebody
             12     could have seen through a window, and so we actually had them
             13     bring it in because you needed to be there; a picture wasn't
             14     good enough.
10:16:29     15                And there are other situations where I've been
             16     involved with, you know, where there was something that really
             17     couldn't be communicated by photographic or video evidence.
             18     This doesn't strike me as one of them. I mean, a picture of a
             19     bunch of file cabinets in a basement I think is going to make
10:16:48     20     whatever point you need to make out of it.
             21                As far as bringing them here, is there something that
             22     you want to do with them here?
             23                MS. GORMAN: There is, Your Honor. You know, it's an
             24     interesting issue because this is an old file cabinet that was
10:17:01     25     up on the second floor of --


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               1               THE COURT: In the detective division, if I recall.
               2               MS. GORMAN: In the detective division, around all of
               3    these newer file cabinets and different file cabinets.
               4               And I would like to have, especially a couple of the
10:17:15       5    witnesses that I'm calling, coming in, have them come in and
               6    show me things about this file.
               7               Like, for one thing, people who were working right
               8    there are saying they've never seen this file cabinet before,
               9    never opened it, people who are in charge of the file cabinets.
10:17:29     10     And in those file cabinets are lots of files that are open and
             11     lots of files that are, that should never have been in there.
             12                And I'd like to be able to pull those out, show the
             13     jury the different files that should not have been in there.
             14     And it's not just a file, the five that I brought to this
10:17:47     15     Court's attention, because those are the ones I asked for
             16     copies of and wanted to do more investigation of.
             17                THE COURT: Yes.
             18                MS. GORMAN: I believe there's more files in there.
             19                And I want to be able to give the jury a visual on
10:17:56     20     this, this isn't some little cabinet. I just think it's
             21     important for them, and I don't think it's very cumbersome to
             22     bring that in.
             23                THE COURT: You're just talking about the one?
             24                MS. GORMAN: The one.
10:18:05     25                THE COURT: How many, is it like a three-drawer or --


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               1               MS. GORMAN: Five drawers.
               2               THE COURT: So it's a pretty big one, okay.
               3               So hopping back then to the second part of the motion.
               4               I guess my reaction to that is I'm not prepared to say
10:18:19       5    at this point that there is absolutely no purpose for which the
               6    files in this cabinet can be used. That was worded in sort of
               7    an infelicitous way, so let me say it in a different way.
               8               I'm not ruling in limine the files are out of bounds
               9    at the trial. I haven't been given an argument. I don't have
10:18:40     10     a motion in limine that says that. I haven't been given an
             11     argument that is sufficient to say there should be no mention
             12     of the file cabinet or anything else in it at the trial.
             13                And that's not what I dealt with plaintiff. What I
             14     was dealing with before was a series of motions where I was not
10:18:56     15     asked to adjudicate admissibility issues. I was asked to let's
             16     publish who's in this so that anybody whose case had a file in
             17     there can, you know, can take whatever steps they think is
             18     appropriate.
             19                And, in fact, in the transcript that was attached to
10:19:13     20     the response, which is the transcript of December, November the
             21     13th at page 7, just after I got done telling the plaintiff's
             22     attorneys that "This is the last time I'm going to deal with
             23     this, I am not going to entertain any more motions along these
             24     lines, Ms. Gorman" -- and I just interject here that these
10:19:32     25     lines being saying "just make the names public" -- I went on to


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               1    say this, "If there is an issue that concerns relevance of this
               2    information or some of it in this case on these claims, then I
               3    will deal with that issue."
               4               And that is part of what I was referring back to when
10:19:46       5    I had the footnote in the opinion that says I hadn't
               6    adjudicated the admissibility of this, the relevance issues and
               7    so on at the trial yet. And I'm not prepared to do that now.
               8    I don't have enough to say there's nothing in this file cabinet
               9    that could possibly be relevant or admissible at the trial, so
10:20:01     10     I'm not going to say that.
             11                And I, you know, this is better dealt with rather than
             12     in -- and both sides I think, you know, the motion was kind of
             13     a broad brush motion, and the response was partly a broad brush
             14     response because it was a broad brush motion, and part of it
10:20:19     15     was specific.
             16                I mean, that doesn't give me enough to say "Oh, yes,
             17     you can use it for every purpose you want to," or "Oh, no, you
             18     can't use it for any purpose at all." I just don't know.
             19                So I think, you know, this is going to need to be part
10:20:32     20     of the process of motions in limine connected with the trial,
             21     that, you know, you're going to have to figure out what it is
             22     you want to do with this thing, you're going to have to figure
             23     out what you think is inappropriate about what the plaintiff
             24     wants to do with it and file a motion, and I'll hear it, and
10:20:51     25     I'll decide it. I can't think of any other way to do it. I


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               1    don't have enough in this motion here to give a blanket ruling
               2    one way or the another. I just don't. So that's my answer.
               3               And as far as bringing the file cabinet here, I mean,
               4    I'm certainly open to that possibility. I mean, there's a
10:21:12       5    statement in here that -- wait a second -- this is somehow
               6    going to disrupt regular police activities. I mean, I
               7    wouldn't, I mean, I wouldn't reach that conclusion without
               8    seeing some support for it like somebody saying "Oh, yeah
               9    there's stuff in this file that we actually use, need, or are
10:21:35     10     going to need for the two or three weeks."
             11                I am guessing that the particular file that we are
             12     talking about here would not be part of that affidavit if I got
             13     one, but there may be other stuff in there. I don't know. I
             14     don't have a sense of the full scope of what's in the filing
10:21:48     15     cabinet.
             16                So I'm not prepared to say that it can't be brought
             17     here. I'm open to the possibility, and so people ought to be I
             18     guess thinking about what you need to do to bring it here, and
             19     I assume it just means somebody puts a dolly under it, pops it
10:22:01     20     on a van, and make arrangement to bring it up through the
             21     basement or something like that.
             22                So think about that. I am not going to make a
             23     definitive ruling at this point.
             24                MS. GORMAN: Your Honor, one other issue.
10:22:11     25                I talked with counsel beforehand. We both believe we


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               1    need more than 15 pages for motions in limine.
               2               THE COURT: I'm confident that you do, but I'm not
               3    going to say you can have more without giving, without having
               4    some parameters on it. So what are the parameters you're
10:22:25       5    looking for?
               6               MS. GORMAN: I did not talk about parameters.
               7               MR. MICHALIK: We are --
               8               THE COURT: If I say more, I could get 150, and I'm
               9    never going to give you 150.
10:22:31     10                MR. MICHALIK: We are actually scheduled to discuss
             11     motions in limine this afternoon pursuant to the Court's meet
             12     and confer process, so that may give us a better idea.
             13                THE COURT: You know, just get some sort of a one or
             14     two-page motion on file when you have a better sense of it, and
10:22:46     15     I'll do one of two things: I'll either say grant it or I'll
             16     shave a little off of it, and you won't have to come in.
             17                MS. GORMAN: Thank you.
             18                THE COURT: Okay. Thanks.
             19                MR. MICHALIK: Thanks.
10:22:55     20                MS. MATUZAK: Thank you.
             21          (Proceedings concluded.)
                                         C E R T I F I C A T E
             22              I, Michael P. Snyder, do hereby certify that the
                    foregoing is a complete, true, and accurate transcript of the
             23     proceedings had in the above-entitled case before the Honorable
                    MATTHEW F. KENNELLY, one of the judges of said Court, at
             24     Chicago, Illinois, on February 18, 2014.
             25                                       /s/ Michael P. Snyder
                                                      Official Court Reporter

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